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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA


                            Alexandria Division




 KYLE DAWSON,

        Plaintiff,



 V.                                   Civil Action No, l:18-cv-971



 WASHINGTON GAS LIGHT COMPANY,
 ET   AL.


        Defendants.




                            MEMORANDUM OPINION


       This matter comes before the Court on Defendants' Motion


 for Partial Dismissal of Plaintiff's Complaint pursuant to

 Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).

        Plaintiff is a self-described biracial, part Caucasian,

 part African American, light-skinned man. Plaintiff worked for

 Defendant Washington Gas, in relevant part, from the summer of

 2013 to July 25, 2018. During that time. Plaintiff worked as a

 crew mechanic, crew leader in-training, and crew leader.

 Plaintiff also twice participated in the CLDP program with

 successful completion on the second attempt.

        Beginning in the summer of 2013 to fall of the same year.

 Plaintiff began to experience harsh treatment from his
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